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 8                      UNITED STATES DISTRICT COURT
 9                     CENTRAL DISTRICT OF CALIFORNIA
10                              WESTERN DIVISION
11   MARQUES BORNEY,                     ) No. 2:21-cv-07289-JAK (JDE)
                                         )
12                     Petitioner,       )
                                         ) JUDGMENT
13                v.                     )
                                         )
14   BRIAN KIBLER, Warden,               )
                                         )
15                                       )
                       Respondent.       )
                                         )
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17
           Pursuant to the Order Summarily Dismissing Petition for Writ of
18
     Habeas Corpus for Lack of Subject Matter Jurisdiction and Referring the
19
     Petition to the Ninth Circuit Court of Appeals Pursuant to Ninth Circuit Rule
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     22-3(A),
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           IT IS ADJUDGED that the petition is denied, and this action is
22
     dismissed without prejudice in this Court.
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             2FWREHU
     Dated: __________________
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26                                                ______________________________
27                                                JOHN A. KRONSTADT
                                                  United States District Judge
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